 Case 1:24-cv-00072-NT          Document 43        Filed 02/21/25      Page 1 of 5     PageID #: 132




                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


                                                             Civil Action
                                                             Docket No.: 1:24-cv-00072-NT

 JJM, LLC,

             Plaintiff

    v.

 ONE ABANDONED AND SUBMERGED VESSEL
        her engines,
        boilers, tackle,
        appurtenances,
        cargo, and her
        other equipment, etc.,

             in rem,

             Defendant.


    STATE OF MAINE’S MOTION TO UNSEAL THE IN REM DEFENDANT’S NAME
               WITH INCORPORATED MEMORANDUM OF LAW

         Pursuant to Fed. R. Civ. P. 7(b) and Local Rules 7 and 10, claimant the State of Maine

(“State”) moves this Court to unseal the in rem defendant’s name.

                                          BACKGROUND

         At the outset of the captioned matter, JJM moved to seal the in rem defendant’s name and

location, which information is contained in Exhibit A to JJM’s Motion to Seal (“JJM’s Exhibit A”).

(ECF 7 & Attachment 1.) See Local Rule 7A(a) (governing motions to seal). JJM offered two

primary bases for sealing the in rem defendant’s name and location: (1) the risk that the State would

take possession of the vessel and divest this Court of jurisdiction to adjudicate the captioned matter,

and (2) the possibility of unrelated parties pillaging the vessel. (ECF 7, Page ID # 49, 51-52.) In its


                                                  1
  Case 1:24-cv-00072-NT          Document 43        Filed 02/21/25       Page 2 of 5    PageID #: 133




Order on Motion to Seal, this Court granted JJM’s motion and “ORDERED that Exhibit A to

Plaintiff’s Motion to Seal shall be maintained with this Court as a sealed document, accessible only

to the Parties in this action.” (ECF 16.) The Court found that good cause exists “to prevent disclosure

of more precise details, at least at this nascent stage of the proceeding.” (Id.)

       This matter has progressed since the Court’s Order on Motion to Seal. The in rem defendant

was arrested, is under JJM’s custodianship, and is subject to the jurisdiction of this Court. (ECF 20-

22.) Discovery progresses, and dispositive motions loom on the horizon. At the heart of both? The

in rem defendant’s identify.

                                            ARGUMENT

       The public enjoys “a common-law right of access to ‘judicial documents.’” United States v.

Kravetz, 706 F.3d 47, 52 (1st Cir. 2013). To determine whether this right applies to a particular

document, “the court must determine whether the documents are ‘judicial records.’” United States

ex rel. Nargol v. DePuy Orthopaedics, Inc., 69 F.4th 1, 15, (1st Cir. 2023). Judicial “records are

those materials on which a court relies in determining the litigants’ substantive rights.” Id. (internal

quotation marks omitted). “Relevant documents which are submitted to, and accepted by, a court of

competent jurisdiction in the course of adjudicatory proceedings, become documents to which the

presumption of public access applies.” Id. (internal quotation marks omitted) (alteration omitted).

Judicial records do not include documents that are related solely to trial management or discovery

disputes. Id.

       “[T]he party seeking to keep documents sealed . . . must make a showing sufficient to

overcome the presumption of public access.” Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 71

(1st Cir. 2011); F.T.C. v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 411 (1st Cir. 1987). “Only the

most compelling reasons can justify non-disclosure of judicial records.” Nat’l Org. for Marriage,



                                                    2
  Case 1:24-cv-00072-NT           Document 43        Filed 02/21/25       Page 3 of 5     PageID #: 134




649 F.3d at 70 (internal quotation marks omitted) (alteration omitted).

       JJM’s Exhibit A is a judicial record to which the presumption of public access applies. JJM’s

Exhibit A was not submitted to the Court solely for the purposes of trial management or discovery.

Instead, JJM’s Exhibit A was submitted to and accepted by the Court to facilitate the arrest and

substitute custodianship of the in rem defendant, which is a particular vessel. (ECF 3; ECF 5; ECF

7, PageID # 49.) See N. Pac. S.S. Co. v. Hall Bros. Marine Ry. & Shipbuilding Co., 249 U.S. 119,

127 (1919) (“A ship is born when she is launched, and lives so long as her identify is preserved.”)

(internal quotation marks omitted) (citation omitted).

       Additionally, the purpose of this litigation is to determine who owns the arrested vessel.

Ownership under either the Abandoned Shipwreck Act—the basis of the State’s claim to title (ECF

24)—or the law of finds—the basis of JJM’s claim to title (ECF 1, PageID # 4)—requires some

showing of abandonment. 43 U.S.C. § 2105(a), (c) (making abandonment a prerequisite to title under

the Abandoned Shipwreck Act); Martha’s Vineyard Scuba Headquarters, Inc. v. The Unidentified,

Wrecked, and Abandoned Steam Vessel, 833 F.2d 1059, 1065 (1st Cir. 1987) (noting that the law of

finds applies to vessels that are presumptively abandoned). (See ECF 5, PageID # 31.) And

identifying the vessel “is helpful in determining whether it is abandoned.” Ne. Rsch., LLC v. One

Shipwrecked Vessel, 729 F.3d 197, 211 (2d Cir. 2013) (citing Fathom Exploration, L.L.C. v.

Unidentified Shipwrecked Vessel or Vessels, 857 F. Supp. 2d 1269, 1272-73 n.4 (S.D. Ala. 2012)).

Consequently, the vessel’s identify is the focus of ongoing discovery, including the maritime

archaeological assessment, dated November 11, 2024 (State’s Archaeological Assessment), prepared

by the State’s expert.1



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       On November 12, 2024, the State provided this report to counsel for JJM and the United States and to
select staff at the Maine State Museum and the Maine Historic Preservation Commission.

                                                    3
  Case 1:24-cv-00072-NT          Document 43         Filed 02/21/25      Page 4 of 5      PageID #: 135




       Further, the in rem defendant’s identity will likely feature in any request by the State that the

Keeper of the National Historic Registry determine whether the in rem defendant is eligible for listing

on the registry, see 43 U.S.C. § 2105(a)(3) & 2105(c), and, if authorized by this Court, the State’s

eventual motion for summary judgment. There is no compelling reason to maintain the in rem

defendant’s anonymity during the pendency of an administrative eligibility determination proceeding

or this judicial proceeding. Party anonymity is warranted only in exceptional circumstances not

present in this fight over an abandoned and submerged vessel. Doe v. Massachusetts Inst. of Tech.,

46 F.4th 61, 70-72 (1st Cir. 2022) (identifying paradigms that may warrant using pseudonyms to

maintain party anonymity). Indeed, it would appear that the identity of an in rem defendant is often

openly referenced once the vessel is under the jurisdiction of a federal court. See, e.g., Martha’s

Vineyard Scuba Headquarters, Inc., 833 F.2d at 1061 (discussing the fate of the S.S. Republic); Ne.

Rsch., LLC, 729 F.3d at 200, 203-06 (recounting the parties’ dispute at summary judgment over the

in rem defendant’s identity: the General Wayne or “an abandoned and ‘nameless 1830s schooner that

sank carrying grain’”); Great Lakes Expl. Grp. v. Unidentified and (For Salvage-Right Purposes),

Abandoned Sailing Vessel, 522 F.3d 682, 686 (6th Cir. 2008) (noting that plaintiff’s amended

complaint identified the in rem defendant by its suspected name—The Griffin).

       Finally, revealing only the presumed name of the in rem defendant, as opposed to the

coordinates, is not a ready invitation to pillaging. The name alone does not reveal the in rem

defendant’s precise coordinates. And were someone able to locate the vessel, the vessel has been

arrested, is under JJM’s custodianship, and is subject to the jurisdiction of this Court. Moreover, the

State is not aware of any specific, credible threats to the in rem defendant or its cargo or artifacts.




                                                    4
 Case 1:24-cv-00072-NT          Document 43        Filed 02/21/25      Page 5 of 5     PageID #: 136




       Shipwrecks are a matter of public interest: they are a time capsule of life in an earlier age,

Kevin Miller, Historic Shipwrecks of Maine, Portland Press Herald (Sept. 8, 2109, updated Sept. 10,

2019), (https://www.pressherald.com/2019/09/08/historic-shipwrecks-of-maine/), and “a source of

consolation to all,” Martha’s Vineyard Scuba Headquarters, Inc., 833 F.2d at 1061 (quoting Erasmus,

Adagia, IV.iii.9 (1508) (alteration omitted). The State respectfully requests that this Court lift the

seal as to the in rem defendant vessel’s name.


  Dated: Augusta, Maine                               AARON M. FREY
  February 21, 2025                                   Attorney General of the State of Maine



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